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 5

 6
                        UNITED STATES DISTRICT COURT
 7                           DISTRICT OF NEVADA
                                                     -oOo-
 8
     UNITED STATES OF AMERICA,                         )        Case No.: 2:14-cr-00264-APG-VCF
 9                                                     )
                     Plaintiff,                        )        GOVERNMENT’S MOTION TO
10                                                     )        SEAL PETITON FOR A WRIT OF
                                                       )        HABEAS CORPUS AD
             vs.                                       )        TESTIFICANDUM FOR “J.C.”
11
                                                       )
     TYRAL EDWARD KING,                                )
12                                                     )
                     Defendant.                        )
13

14           COMES NOW the United States of America, by and through its attorneys, Daniel G.
15   Bogden, United States Attorney, Lisa Cartier-Giroux, Assistant United States Attorney, and
16   respectfully moves this Court for an Order to SEAL the Petition for a Writ of Habeas Corpus ad
17   Testificandum filed under case number 2:14-cr-00264-APG-VCF, and the accompanying order,
18   that was filed by the United States on August 13, 2015, until the further Order of this Court. The
19   Government respectfully requests that said documents be SEALED and that they remain under
20   seal until the further Order of this Court, due to the fact that the person subject to the writ
21   ///
22   ///
23   ///
24
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 1   (“J.C.”) is a minor, under the age of 18 years, in the custody of the Clark County Juvenile

 2   Detention Center.

 3          Dated this 13th day of August, 2015.

 4
                                                         Respectfully Submitted,
 5
                                                         DANIEL G. BOGDEN
                                                         United States Attorney
 6

 7                                                   By: _______/s/____________________
                                                        LISA CARTIER-GIROUX
 8                                                      Assistant United States Attorney

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 6                      UNITED STATES DISTRICT COURT
 7                           DISTRICT OF NEVADA
                                                -oOo-
 8
     UNITED STATES OF AMERICA,                      )      Case No.: 2:14-cr-00264-APG-VCF
                                                    )
 9                                                  )      ORDER SEALING WRIT OF
                     Plaintiff,
                                                    )      HABEAS CORPUS AD
10                                                  )      TESTIFICANDUM FOR “J.C.”
            vs.                                     )
11                                                  )
     TYRAL EDWARD KING,                             )
12                                                  )
                     Defendant.                     )
13

14          Based on the Motion of the Government, and good cause appearing therefore, IT IS

15   HEREBY ORDERED that the Petition for a Writ of Habeas Corpus ad Testificandum, and the

16   accompanying Order, that was filed by the United States on August 13, 2015, shall be SEALED

17   until the further Order of this Court.

18                  DATED this 13th day of August, 2015.

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     ____________________________________
20   UNITED STATES MAGISTRATE JUDGE

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